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             IN THE UNITED STATES DISTRICT COURT FOR
                 THE SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION


UNITED STATES OF AMERICA,


V.                                             Case No.    CR417-208


CARLOS E. ELDER,
                 Defendant.




      Elizabeth F. Pavlis, counsel of record for defendant Carlos E.

Elder in the above-styled case has moved for leave of absence.            The

Court is mindful that personal and professional obligations require

the absence of     counsel on occasion.     The   Court, however, cannot

accommodate its schedule to the thousands of attorneys who practice

within the Southern District of Georgia.

      Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and          trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.



      SO ORDERED this           day of December 2017.




                                   WILLIAM T. MOORE,'^JR,
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
